 4:17-cr-03105-RGK-CRZ            Doc # 12    Filed: 09/21/17   Page 1 of 1 - Page ID # 30




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                  4:17CR3105

      vs.
                                                                   ORDER
SUE ANN SELLON,

                     Defendant.

       The court has been presented a Financial Affidavit (CJA Form 23) signed by the
above-named defendant in support of a request for appointed counsel. After a review of
the Financial Affidavit, I find that the above-named defendant is eligible for appointment
of counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and Amended
Criminal Justice Act Plan for the District of Nebraska.

IT IS ORDERED:

        The Federal Public Defender for the District of Nebraska is appointed to represent
the above named defendant in this matter. In the event that the Federal Public Defender
accepts this appointment, the Federal Public Defender shall forthwith file an appearance
in this matter. In the event the Federal Public Defender should decline this appointment
for reason of conflict or on the basis of the Criminal Justice Act Plan, the Federal Public
Defender shall forthwith provide the court with a draft appointment order (CJA Form 20)
bearing the name and other identifying information of the CJA Panel attorney identified
in accordance with the Criminal Justice Act Plan for this district.

       IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to
the Federal Public Defender for the District of Nebraska.

       DATED this 21st day of September, 2017.

                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
